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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

DAVID MURPHEY, and         )
JESSICA MURPHEY            )
                           )                            4:11-cv-418-NAB
             Plaintiffs,   )
                           )                            Magistrate Judge Baker
      v.                   )
                           )
ENHANCED RECOVERY COMPANY, )
LLC.,                      )
                           )
             Defendant.    )

        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO SETTLEMENT

       NOW COME the Plaintiffs, DAVID MURPHEY and JESSICA MURPHEY, by and

through their attorneys, LARRY P. SMITH & ASSOCIATES, LTD., and for their Notice of

Voluntary Dismissal, Plaintiffs state as follows:

       1.      Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

               hereby notify this Honorable Court that the Plaintiffs voluntarily dismisses their

               case pursuant to a settlement agreement reached by the parties.

       2.      The Defendant in this case has filed neither an answer to Plaintiffs’ complaint nor

               a motion for summary judgment.

       3.      Plaintiffs request that this case be dismissed with prejudice and without costs to

               any party, all costs having been paid and all matters in controversy for which this

               action was brought having been fully settled, compromised and adjourned.


                                                              Respectfully submitted,
                                                              DAVID MURPHEY &
                                                              JESSICA MURPHEY

                                                        By:    s/ David M. Marco
                                                               Attorney for Plaintiffs
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Dated: June 3, 2011

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